AO 91 (Rev. 11/11) Criminal Complaint

                                                                                                                   Apr 19, 2022
                                     UNITED STATES DISTRICT COURT
                                                             for the                                                    s/ JDH
                                                Eastern District
                                              __________         of Wisconsin
                                                          District  of __________

                  United States of America                      )
                             v.                                 )
         Antoine EUBANKS (DOB: 08/01/1992)
                                                                )      Case No.     22-M-423 (SCD)
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                August 23, 2020              in the county of              Kenosha                           in the
      Eastern          District of        Wisconsin         , the defendant(s) violated:

            Code Section                                                  Offense Description
Title 18, United States Code,                Conspiracy to commit offenses against the United States
Section 371




         This criminal complaint is based on these facts:
See Attached Affidavit




                                                                                                        Digitally signed by RICKY HANKINS
                                                                                                        DN: c=US, o=U.S. Government,
         ✔ Continued on the attached sheet.
         u                                                                                              ou=Dept of Justice, ou=ATF,
                                                                                                        cn=RICKY HANKINS,
                                                                                                        0.9.2342.19200300.100.1.1=150010
                                                                                                        01699456
                                                                                                        Date: 2022.04.19 08:55:10 -05'00'


                                                                                           Complainant’s signature

                                                                                           SA Rick Hankins, ATF
                                                                                            Printed name and title

                   Telephonically.
Sworn to before me and signed in my presence.


Date:       4-19-22
                                                                                              Judge’s signature

City and state:                    Milwaukee, Wisconsin                     Honorable Stephen C. Dries, Magistrate Judge
                                                                                            Printed name and title


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                              AFFIDAVIT IN SUPPORT OF
                                   A COMPLAINT

       I, Rick Hankins, being first duly sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

       1.       I am a Special Agent of the United States Justice Department’s Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), currently assigned to the Milwaukee

Field Office. I have been so employed since April 2003. My duties as a Special Agent

with ATF include investigating alleged violations of the federal firearms, explosives,

and arson statutes.

       2.       I have completed approximately 26 weeks of training at the Federal Law

Enforcement Training Center in Glynco, Georgia, as well as the ATF National Academy.

That training included various legal courses related to constitutional law as well as

search and seizure authority. Additionally, I have received training on how to conduct

various tasks associated with criminal investigations, such as interviewing, surveillance,

and evidence collection.

       3.       In addition to my duties as a criminal investigator, I am also an ATF

Certified Fire Investigator (CFI). As an ATF CFI, I am tasked with providing expert

opinions as to the origin and cause of fires. I obtained the ATF CFI certification in 2009

following a two-year training program that centered on various fire science topics

including, but not limited to: chemistry, fire dynamics, and building construction. The

two-year ATF CFI certification program consisted of college courses, written exams,

research papers, reading assignments, practical training exercises, and test burns of




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various materials. I am re-certified annually as an ATF CFI. To date, I have participated

in over 290 fire scene examinations and have testified as an expert regarding the same.

Additionally, I have been certified as a fire investigator by the International Association

of Arson Investigators since June 2011. I have received over 1,400 class hours of fire

related training. Furthermore, I have been an instructor regarding fire-related topics on

multiple occasions for the following agencies and institutions: The National Fire

Academy (FEMA), International Association of Arson Investigators Chapter 25,

Waukesha County Technical College, Blackhawk Technical College, and multiple law

enforcement agencies. I have also participated in over 200 live fire training exercises,

where I started training fires and observed fire growth and development. Finally, I was

a full-time instructor at the ATF National Academy from August 2015 to August 2016,

where I taught several topics during Special Agent Basic Training for new ATF recruits.

Specifically, I was a primary instructor for the arson block of training at the ATF

Academy.

       4.       As an ATF agent, I have been deployed to riots involving arsons,

including the Sherman Park riots in 2016 and the Minnesota riots in 2020. I know from

training and experience that individuals who commit crimes during riots commonly

communicate, photograph, videotape, and organize using electronic devices, including

by phone call, text message, electronic mail, messaging application, and social media,

including Facebook.




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       5.       I have previously applied for and received search and arrest warrants

related to the crime of arson, as well as other crimes.

       6.       The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

       7.       Based on the facts as set forth in this affidavit, there is probable cause to

arrest the following individuals for the following federal offenses:

       -     Anthony CLAY (DOB: 10/15/1997) (conspiracy to commit offenses against

             the United States, Title 18, United States Code, Section 371);

       -     Antoine EUBANKS (DOB: 8/01/1992) (conspiracy to commit offenses against

             the United States, Title 18, United States Code, Section 371).

       8.       Certain of EUBANKS and CLAY’s co-conspirators have already been

charged with this same offense in United States v. King, et al., 21-cr-139 (E.D. Wis.).

       9.       I submit this affidavit for the limited purpose of demonstrating sufficient

probable cause for the requested warrants. It does not set forth all of my knowledge

about this matter.




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                                   PROBABLE CAUSE

       10.    On August 23, 2020, Jacob Blake was shot multiple times by officers of the

Kenosha Police Department. That incident triggered both non-violent protests and

violent rioting, including numerous arsons throughout the City of Kenosha. The ATF

subsequently deployed its National Response Team of arson investigators to Kenosha

to process the fire scenes, collect video evidence, and identify potential suspects.

                                       Charlie’s Bar

       11.    On August 26, 2020, ATF and the Kenosha Police Department initiated a

fire scene investigation at Charlie’s 10th Hole bar, located at 3805 22nd Avenue, Kenosha,

Wisconsin—a building and unit of real property used in an activity affecting interstate

commerce. Investigators located two areas of separate fire damage, one on the outside

of the building and one on the inside. A subsequent Origin and Cause investigation by

the ATF determined both fires were “incendiary” in nature.

       12.    As part of their investigation, law enforcement collected hours of

surveillance videos from multiple locations, including Charlie’s 10th Hole bar itself. The

following facts are distilled from relevant video surveillance footage reviewed by law

enforcement as part of this investigation.

       13.    On August 24, 2020, at approximately 11:25 pm, multiple people walked

southbound on a sidewalk toward Charlie’s 10th Hole bar. At approximately 11:26 pm,

a black male with long dreadlock-style hair wearing a dark sweatshirt with white

lettering (believed to be David GARNER, based on law enforcement’s comparison of


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this video footage to known photographs of GARNER on social media and law

enforcement databases) used an apparent ignitable liquid to set fire to the north exterior

of the bar.

       14.    At approximately 11:27 pm, this same group of people reacted to an

unknown off-camera event by crouching and looking to the southwest. In response to

that same event, a male in the group (believed to be Kevin MARTINEZ, based on law

enforcement’s comparison of this video footage and other images of a person wearing

very similar clothing in Kenosha that evening while associating with this same group to

known photographs of MARTINEZ on social media and law enforcement databases),

wearing a dark hoodie, light shorts, white shoes, and a light-colored facemask, removed

a handgun from his waistband and fired at least two rounds toward the southwest.

       15.    Investigators later recovered spent 9mm ammunition casings on the

ground near the area where the shooting had occurred. While the analysis of those

casings is ongoing, law enforcement was able to determine that none of the casings

were manufactured in the state of Wisconsin. MARTINEZ is a felon, having been

convicted of “Aiding An Offender-Accomplice After the Fact” in Hennepin County,

Minnesota, Case No. 27-cr-18-22952. At approximately 11:28:22 pm, a surveillance

camera captured images of a male (believed to be Allen KING, based on law

enforcement’s comparison of this video footage and other images of a person wearing

very similar clothing in Kenosha that evening while associating with this same group to

known photographs of KING on social media and law enforcement databases) wearing

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shorts, light colored shoes and a graphic t-shirt, standing next to the male believed to be

GARNER. The male believed to be KING also wore gloves and a covering over his

head that concealed his face, except his eyes. The covering over his head included a

design or graphic near his lower face. Surveillance video captured images of the male

believed to be KING holding an object while the male believed to be GARNER pours

liquid onto the object.

       16.    At 11:28:51 pm, surveillance cameras captured an illumination near the

front window at the bar. At about this time, the male believed to KING appeared by

the front window. The male believed to be KING was the only subject near the front

window at this time. At approximately 11:28:57 pm, interior cameras at the bar

captured images of a flaming object flying through the air from the direction of the front

window and landing behind the bar. The male believed to be KING, along with others

in his group, subsequently fled westbound across 22nd Avenue toward a CVS located at

3726 22nd Avenue.


                                           CVS

       17.    Approximately 14 people unlawfully entered the previously mentioned

CVS store at approximately 11:30 pm on August 24, 2020. The unlawful intruders

included KING, MARTINEZ, and GARNER. Additionally, the same group included a

male (believed to be Anthony CLAY, based on law enforcement’s comparison of video

footage and other images of a person wearing very similar clothing in Kenosha that

evening while associating with this same group to known photographs of CLAY on

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social media and law enforcement databases), and another male (believed to be Antoine

EUBANKS, based on law enforcement’s comparison of video footage and other images

of a person wearing very similar clothing in Kenosha that evening while associating

with this same group to known photographs of EUBANK’S on social media and law

enforcement databases).

      18.    The Kenosha Police Department responded to the CVS burglary and

apprehended a man (“JM”) inside the store while other intruders fled. Upon arrival,

officers observed the bottom half of CVS’s glass sliding doors were shattered and

entered the building to check for subjects. Officers located a silver hammer with a black

handle and a flathead screwdriver with a black-and-red handle in the immediate area

around JM. Officers noted that cash drawers and pill bottles were strewn across the

floor, and the store was in disarray. The pharmacy section of the CVS had hundreds of

pill bottles strewn across the floor, one shelf of medication was tipped over, and the

medication refrigerators were opened. CVS pharmacy completed an inventory and

found that $1,247.53 of controlled substances and $10,821.42 of non-controlled

substances were missing from the store.

      19.    JM was charged with burglary, in violation of Wisconsin Statute

943.10(1m)(a), the next day in Kenosha County.

      20.    JM eventually acknowledged that he had traveled with a group of

people from the Twin Cities in Minnesota on August 24, 2020, to participate in “the

riots” in Kenosha, Wisconsin. He said that he was standing next to the person who

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started the fire at Charlie’s 10th Hole bar. JM also said there were three vehicles that

traveled together from Minnesota to Kenosha: a Dodge car, a white car, and a dark

SUV. JM said he was a passenger in the Dodge car.

       21.      Additional surveillance video confirms that a Dodge car, white sedan,

and dark SUV parked in the area behind the Stella Hotel in Kenosha on August 24,

2020 at approximately 9:30 pm—consistent with JM’s statement. Men believed to be

KING, EUBANKS and MARTINEZ can be seen exiting the vehicles. The man

believed to be MARTINEZ can be seen donning a black hooded sweatshirt, similar

to the one seen on the shooter at Charlie’s 10 Hole bar. A different black male, whose

appearance is consistent with CLAY’s, also exits the Dodge car around this time.

                                          Citgo

       22.      The Citgo gas station located at 2710 Roosevelt Road, Kenosha,

Wisconsin was also burglarized during the early morning hours of August 25, 2020.

The following is a summary of images captured by the Citgo surveillance cameras

that evening.

       23.      During the early morning hours of August 25, 2020, the glass of the

Citgo’s front windows and door were broken. Multiple people entered the gas

station and began to loot.

       24.      Shortly thereafter, a dark SUV approached the gas station and a man

believed to be KING exited the vehicle, with another individual, believed to be




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Antoine EUBANKS. KING eventually entered the store, possessing what appears

to be a handgun.

       25.    At one point KING took a shooting stance with both hands on the

suspected handgun and aimed it at the office/cashier booth door. Shortly thereafter

most of the other people inside the store suddenly flinched and quickly exited the store.

The unidentified people subsequently re-entered the store.

       26.    After he placed the handgun in his front pocket, KING then attempted to

open the sliding windows to the cashier booth. At about this same time, EUBANKS

enters the gas station. EUBANKS and KING subsequently began working together to

force open the cashier window. EUBANKS dislodged one of the cashier booth

windows, and KING jumped through the window into the cashier booth.

       27.    Once inside the cashier booth, KING emptied a garbage can and began

placing packs of cigarettes into the can.

       28.    By approximately 12:23:05 am, KING had exited the cashier booth with a

metal garbage can containing cigarettes.

       29.    Shortly thereafter, KING re-entered the gas station and jumped through

the cashier window, holding the barrel of a suspected firearm in his right hand. KING

subsequently gathered cigarette boxes from the office and carried the boxes into the

cashier booth.




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      30.    At approximately 12:56:59 am, a man believed to be MARTINEZ entered

the gas station. MARTINEZ jumped onto the counter and entered the cashier booth.

After he jumped into the cashier booth, MARTINEZ assisted in collecting cigarettes.

      31.    The Citgo gas station surveillance system also captured images of the

male believed to be EUBANKS collecting items, including cigarettes and lottery tickets,

and removing those items from the store.


                                   Location Evidence

      32.    ATF identified a known cell phone number for GARNER. Cell site

location data associated with GARNER’s cell phone number revealed that

GARNER’s phone travelled to Kenosha from Minnesota on August 24, 2020,

returning to Minnesota the next day.

                                 Facebook Evidence

      33.    Law enforcement was eventually able to identify (and obtain records

regarding) Facebook accounts maintained by EUBANKS, CLAY, KING, GARNER

and MARTINEZ. In one Facebook post, created on the date of the suspected arson,

KING indicated that he, GARNER and MARTINEZ were on a “money mission.” In

a “comment” appended to that same posting, KING “tagged” MARTINEZ and

wrote: “twin we woke up on mission.” MARTINEZ responded: “Factz.”

      34.    Then, a few minutes later, KING posted a link to a news article related

to the officer involved shooting in Kenosha, WI, as depicted below:



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       35.    KING’s next Facebook post was a video on his timeline at

approximately 9:52 pm on August 24, 2020, in which he announced that he and his

group were in Kenosha, Wisconsin. Law enforcement downloaded this video and

observed that it depicted civil unrest. KING himself is depicted wearing a redshirt

and a covering over his head and face, consistent with his appearance during the

arsons at Charlie’s 10th Hole bar, as seen below.




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       36.    Later in the video, KING is heard encouraging someone to open a

building and start it on fire, but it is unknown if such action was taken. Further

along in the video, KING is seen walking next to a man believed to be MARTINEZ.

Near the end of the video, KING is seen walking back towards a black SUV when he

is heard repeating an unknown third party’s admonition that, “We need to steal so

we can start crashing through shit.”

       37.    During the early morning hours of August 25, 2020, KING shared a

video on Facebook depicting a bottle of prescription liquid medicine. Around that

same time, KING sent another video to another Facebook user, which depicted

several boxes of cigarettes, cigars, lottery tickets, and other items. In the video, an

unknown male states, “We did that.” The recipient of the video asked where KING

was located, and KING replied: “Leaving the riot in Wisconsin”.

       38.    KING sent the same video depicting various consumer items to yet

another Facebook user, writing, “Just left Wisconsin riot going back later”. Later

that same day, KING sent the photo depicted below, with listed prices for items

believed to be stolen from Kenosha.




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      39.     In the early morning hours of August 25, 2020, MARTINEZ sent a

similar Facebook message to another user: “Pops I got you On my way! Back from

Wisconsin I got a lot of shit I happy Fuccin Cday pops”.

      40.     On August 25, 2020, GARNER sent similar Facebook messages reading

“Omw back to Minneapolis from Wisconsin” and “We just got back from

Wisconsin”.

      41.     That same day, GARNER also sent a Facebook message depicting a

prescription pill bottle for Hydrocodone-Acetamin. The name on the bottle was
                                           13



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“JXXXX BXXXXXX” with a Kenosha, Wisconsin address. After sending the photo of

this prescription pill bottle, GARNER sent an additional message: “Do u know

anyone who wants viks”. The Kenosha Police Department confirmed the

prescription pill bottle depicted in the previously mentioned image was reported

stolen from the CVS pharmacy located at 3726 22nd Avenue on August 24, 2020.

       42.    Later that day, GARNER sent additional messages concerning the sale

of “some viks” and “red drank” in his possession.

       43.    On August 31, 2020, GARNER wrote the following message to another

Facebook user: “Bro I’ma slide to get my gun just tuck it don’t ride wit it”.

       44.    On September 11, 2020, GARNER wrote the following message to

another Facebook user: “My bad waiting for my cuzzo n I’ll still come thru what

y’all on I got more liq n weed n pills”.

       45.    On August 24, 2020, at 11:57am, CLAY sent the following message to

Facebook username “La Dave Llbd” aka David GARNER, “Finna be On my way!

Getting oil changed”. On this same date, at 1:16pm, CLAY voice called GARNER

via Facebook.

       46.    On August 24, 2020, at 1:06pm, CLAY attempted to video chat with

Facebook username “Backdooe JQ” aka Jaquan MOORE.

       47.    On August 24, 2020, at 1:17pm, CLAY sent the following message to

Facebook username “Deon Nolove Sanstad” (ID #100000527103396): “Let’s go

puss”. Sanstad replied, “where we going”, and CLAY wrote, “Wisconsin”.

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      48.    Also on August 24, 2020, at 1:46pm, GARNER received the following

message from CLAY: “Here”. GARNER and CLAY then had a Facebook video chat

at 1:49pm.

      49.    On August 24, 2020, at 7:33pm, Facebook username “Davion Williams”

(ID #100024410731607) sent CLAY the following message: “what city yall in”, to

which CLAY replied, “Almost to Milwaukee”. At 7:36pm, Williams wrote to CLAY,

“stop at the next gas station” “we need to grab gas”.

      50.    On August 25, 2020, at 12:28am, CLAY posted a video (ID

#2615722925410071) from inside a vehicle that showed crowds of people outside the

vehicle. The video included a printed statement “Wisconsin going crazy”, as

depicted below:




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      51.    On August 25, 2020, at 12:53am, CLAY posted a video (ID

#225461565528689) from inside a vehicle that was traveling northbound on I94 as the

vehicle approached the Marquette interchange in Milwaukee, Wisconsin, as

depicted below:




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      52.    On August 25, 2020, at 8:24pm, Facebook username “Symone Bradley”

wrote the following message to CLAY: “Hey I’m JQ sister he said you got his stuff and

suppose to drop it off” or call JQ’s mom. JQ is a reference to Jaquan MOORE, who had

been arrested in Kenosha, Wisconsin.

      53.    On August 26, 2020, CLAY was participant in a group messaging that

included the following Facebook usernames: “Jay Michaels” (ID #100000603354615),

“Antwan Clay” (ID #100006466079391), and “Javon Clay” (ID #100053016459208). At

10:55am, Antwan Clay shared a photo (ID #30958839348066) with the group. The photo

was a screenshot of Jaquan MOORE’S online booking information.

      54.    On August 27, 2020, at 2:28pm, CLAY posted a video (ID

#633243313997750) that included images of pills, as depicted below:




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         55.   On September 3, 2020, at 2:58pm, CLAY posted a video (ID

#340873660625307) that included images of pills inside a clear plastic bag, as depicted

below:




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      56.     CLAY’S Facebook records included multiple messages with multiple

people in which CLAY offered or was asked to sell pills and/or marijuana.

      57.    On August 24, 2020, at 3:14pm, EUBANKS posted a video (ID

#167106384983114). In the video, EUBANKS showed himself riding in the front seat of

a traveling vehicle while wearing a red Tom & Jerry cartoon graphic t-shirt, as depicted

below. The same video depicted Allen KING riding in the backseat of the vehicle, also

wearing a red Tom & Jerry cartoon graphic t-shirt, also depicted below. The same video

also depicted Kevin MARTINEZ in the driver’s seat of the vehicle, as depicted below.




                                   Antoine EUBANKS
                                           19



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                            Allen King




                              20



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                       Kevin MARTINEZ




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      58.    On August 24, 2020, at 8:24pm, EUBANKS posted a video (ID

#167163748310711). In the video, EUBANKS showed images out the front

windshield of a traveling vehicle as it traveled eastbound on I894 and approached

the Mitchell interchange in Milwaukee. The video showed the vehicle take the exit

southbound on I43 / I94 toward Chicago, as depicted below. The vehicle that

EUBANKS was traveling in was following a Dodge car.




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      59.    On August 25, 2020, at 7:15am, EUBANKS posted a video (ID

#167281164965636). In the video, EUBANKS encouraged people to “come shop”

and showed multiple boxes of product that included cigars and cigarettes, as

depicted below:




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      60.    On August 26, 2020, at 11:57am, EUBANKS posted a video (ID

#167640201596399). In the video, EUBANKS offered items for sale from the trunk of

a car (to include Newport cigarettes, which were among the items reported stolen

from the Citgo), as depicted below:




                              Statement of David GARNER


      61.    On August 23, 2021, ATF Special Agents and local officers arrested David

GARNER pursuant to a federal arrest warrant issued in the Eastern District of
                                          24



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Wisconsin.   The arrest occurred at GARNER’S residence - 10551 Greenbrier Road,

Minnetonka, Minnesota. Your Affiant subsequently conducted a Mirandized interview

of GARNER and the following is a summary of information provided by GARNER:

       62.    GARNER stated he had traveled to Kenosha with Anthony CLAY and

Javon Clay. GARNER later admitted that he helped start a fire at a bar in Kenosha,

Wisconsin that was located across the street from a CVS pharmacy. GARNER went on

to describe that he and his group looted the CVS.

       63.    GARNER subsequently stated he traveled to Kenosha in a Dodge

Charger/Challenger owned by Anthony CLAY with the following people: Anthony

CLAY; Justin LNU; and J.M., who was caught by law enforcement and who GARNER

had grown up with.

       64.    Your Affiant asked GARNER to describe the other two vehicles that had

traveled with the group to Kenosha.       GARNER described the second vehicle as a

white/beige color older car that contained Javon Clay and his twin brother. GARNER

said Javon Clay and his twin are brothers to Anthony CLAY. GARNER also said a

black male friend to the twins was also in that vehicle.

       65.    GARNER stated the third vehicle was a rental vehicle driven by a black

female he knew as “Nay Nay”. GARNER said a “fat” black male he knew as “Poloc”

also traveled in the rental vehicle. GARNER struggled to remember who else traveled

in the rental vehicle because he said people “scattered” when the police showed up at




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the pharmacy and people got into different vehicles. GARNER stated that Anthony

CLAY left him at the pharmacy and he got into a different vehicle.

      66.    GARNER then stated that it was “coming back” to him. GARNER said

Kevin MARTINEZ, Nay Nay, Poloc, and “Bubba” all traveled in the rental vehicle.

      67.    GARNER offered that the group was just protesting when they first

arrived in Kenosha, and then Bubba starting breaking stuff.          GARNER stated that

Bubba broke into two car dealerships and tried to steal cars. GARNER also stated that

Bubba started fires using gasoline or lighter fluid. GARNER further said Bubba had

obtained the ignitable liquid from some white men who were dressed like “freedom

fighters” and carried guns and were dressed like soldiers. GARNER said the men

dressed like soldiers gave Bubba a water bottle that contained gasoline or lighter fluid.

      68.    GARNER also identified Bubba by his real name - Allen KING.

      69.    Your Affiant asked GARNER what locations in Kenosha the group visited

first. GARNER said the group arrived in the protest area where tear gas was deployed.

GARNER stated there was no looting or fires when the group first arrived in Kenosha.

GARNER stated his group spread out and he began to record what was going on for

historical purposes.

      70.    GARNER stated the looting and fires started at a car dealership near

downtown that had antique cars and 2021 Corvette. GARNER offered that KING

started breaking stuff at the car dealership and helped start a fire at the dealership.

GARNER said KING joined unknown black males who had already started a fire inside

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the dealership. GARNER stated that KING used a liquid inside a bottle to spray on the

fire inside the dealership and the flames began to spread. When asked to further

describe the dealership, GARNER said there were two car dealerships on the same

street by the same name and the one King helped start on fire was located nearest to the

city hall.

       71.    Your Affiant asked if KING or others started any other fires aside from the

car dealership. GARNER replied, “The bar.” GARNER stated the group ended up

driving to another location in Kenosha after they walked with the large crowd.

GARNER said the group drove by the bar and CVS pharmacy and then turned around.

After they parked in the area, GARNER said the group approached the bar. While the

group was walking, GARNER stated a vehicle passed them and someone in the vehicle

asked what they were doing. GARNER said someone in his group told the person in

the vehicle to shut up, and then someone in the vehicle fired a gun at his group multiple

times. GARNER initially stated that KING shot a handgun back at the passing vehicle,

but GARNER later said it was either KING or MARTINEZ. GARNER explained he saw

both KING and MARTINEZ possess the same handgun in Kenosha – they passed it

back and forth. GARNER sprayed the ignitable liquid on the side of the bar.

       72.    GARNER stated that Anthony CLAY was wearing a sweater, shorts, and

his hair was in a ponytail.




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      73.    When asked about the CVS pharmacy, GARNER admitted to stealing

bottles of Hennessy. GARNER said he was loading the bottles of Hennessy in a car

when the police arrived at the CVS.       When asked who took the drugs from the

pharmacy, GARNER said it was Anthony CLAY.

                                    Statement of K.S.


      74.    On August 24, 2021, ATF interviewed K.S. The following is a summary of

the recorded interview of K.S. on June 24, 2021.

      75.    When asked whose idea it was to travel to Kenosha, K.S. replied, “Bubba”,

who she also knew as “Allen”. K.S. also said Bubba wanted to go to Kenosha and K.S.

was the only one with a vehicle.

      76.    K.S. stated there were 4 vehicles that traveled from the Twin Cities to

Kenosha, and she didn’t know all the people who were part of the group.

      77.    K.S. said she drove a rental vehicle to Kenosha that her aunt had rented

for her birthday. K.S. said the following people rode with her to Kenosha: Kevin

(MARTINEZ), Bubba (Allen KING), a girl named Sydney, Poloc (EUBANKS), and “La

Dave” (GARNER).       K.S. further said people were getting into different vehicles

throughout the trip whenever the group stopped for gas. K.S. stated she recalled

stopping for gas twice on the way to Kenosha.

      78.    Your Affiant asked K.S. to tell what happened at the bar and CVS

pharmacy. K.S. said she didn’t stay inside the pharmacy very long because she was

scared. K.S. said the guys that entered the pharmacy included Kevin, Poloc, and Bubba.
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       79.      K.S. said she didn’t start the fire at the bar but others in her group did.

K.S. said she watched people in her group set the bar on fire while she stood across the

street. K.S. stated she thinks Bubba helped start the fire.

       80.      Your Affiant asked K.S. who started selling the looted items from Kenosha

businesses, and she said Bubba sold the items via Facebook. K.S. further said Poloc,

Bubba, and Kevin all took “cuts” from the profits for the stolen items.

       81.      K.S. said Poloc (EUBANKS) kept the “Lean” (a known slang term for

liquid controlled substances, mostly commonly including codeine) stolen from the

pharmacy.

                                       CONCLUSION

       82.      Based on the facts as set forth in this affidavit, I believe there is probable

cause to arrest the following individuals for the following federal offenses:

       -     Anthony CLAY (DOB: 10/15/1997) (conspiracy to commit offenses against

             the United States, Title 18, United States Code, Section 371);

       -     Antoine EUBANKS (DOB: 8/01/1992) (conspiracy to commit offenses against

             the United States, Title 18, United States Code, Section 371).




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